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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

                                         )
K. DENISE RUCKER KREPP,                  )
                                         )
             Plaintiff,                  )
                                         )
             v.                          )      No. 16-cv-0926 (KBJ)
                                         )
U.S. DEPARTMENT OF JUSTICE,              )
                                         )
                                         )
             Defendant.                  )
                                         )

                                        ORDER

      On December 14, 2016, the parties appeared before the Court for a Motion

Hearing, during which Plaintiff’s Counsel represented that the parties had reached an

agreement to resolve the dispute, and that, therefore, this case should be dismissed.

The Court construed that oral representation as a notice of voluntary dismissal.

Accordingly, it is hereby

      ORDERED that the matter is DISMISSED.



DATE: December 14, 2016                  Ketanji Brown Jackson
                                         KETANJI BROWN JACKSON
                                         United States District Judge
